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                       EXHIBIT BB
Case 2:90-cv-00520-KJM-SCR                    Document 3435-6          Filed 12/23/08 RECEIVED
                                                                                          Page 2 of 8


                                                                                       MAY $ 9 2008
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           Attorneys for Sheriff, Police Chief, and
      8     Chief Probation Intervenor-Defendants
      9
  10                               IN THE UNITED STATES DISTRICT COURTS
  11                             FOR THE EASTERN DISTRICT OF CALIFORNIA
  12                            AND THE NORTHERN DISTRICT OF CALIFORNIA
  13              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
  14                    PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 15
           RALPH         COLEMAN, et al.,                    Case No: CIV S-90-0520 LKK JFM P
 16
                            Plaintiffs,                      THREE-JUDGE COURT
 17
                   VS.
 18
           ARNOLD         SCHWARZENEGGER, et
 19
 20                          Defendants.
 21
                                                             [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                             CaseNo.: C01-1351 TEH
 23        MARCIANO          PLATA, et al.,
                                                             THREE-JUDGE COURT
 24                          Plaintiffs,
                                                            INTERVENOR-DEFENDANT LOS
 25               VS.                                       ANGELES COUNTY SHERIFF'S
                                                            RESPONSES TO PLAINTIFFS' FIRST
 26        ARNOLD         SCHWARZENEGGER, et                SET OF INTERROGATORIES
           al.,
 27
                            Defendants.
 28
                                                            -1-
                  INTERVENOR-DEFENDANT LOS ANGELES COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                     INTERROGATORIES
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          PROPOUNDING PARTIES:                     Plaintiffs, MARCIANO PLATA, et al.
          RESPONDING PARTY:                        Intervenor-Defendant, LOS ANGELES COUNTY
                                                   SHERIFF
          SET NUMBER:                              One (I)
                   TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                   Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant Los
          Angeles County Sheriff separately and fully responds to Plaintiffs' First Set of
      8   Interrogatories as follows:
      9                         Preliminary Statement and General Obiections
 10                 1.    Intervenor-Defendant has not completed investigation of the facts relating
 11       to this case, has not completed discovery in this action and has not completed preparation
 12       for trial. Therefore, these responses, while based on diligent factual exploration, reflect
 13       only Intervenor-Defendant's current state of knowledge, understanding, and belief with
 14       regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
 15       the right to supplement these responseswith subsequently obtained or discovered
 16       information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 17       notwithstanding these answers and responses, to employ at trial or in any pretrial
 18       proceeding herein information subsequently obtained or discovered, information the
 19       materiality of which is not presently ascertained, or information Intervenor-Defendant
 20       does not regard as coming within the scope of the interrogatories as Intervenor-Defendant
 21       understands them.
22                 2.      These responses are made solely for the purpose of this action. Each
23        answer    is subject to all objections as to competence, relevance, materiality, propriety,
24        admissibility, privacy, privilege, and any and all other objections that would require
25        exclusion of any statement contained herein if any such interrogatories were asked of, or
26        any statement contained herein if any such interrogatories were asked of, or any
27        statement contained herein were made by, a witness present and testifying in court, all of
28
                                                             -2-
                   INTERVENOR-DEFENDANT LOS ANGELES COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
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      1   which objections and grounds are reserved and may be interposed at the time of trial.
      2              3.   Except for explicit facts admitted herein, no incidental or implied
      3   admissions are intended hereby. Intervenor-Defendant's answers or objections to any
      4   interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
      5   In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
  6       interrogatory is not a waiver of part or all of any objection he might make to that
      7   interrogatory, or an admission that such answer or objection constitutes admissible
      8   evidence. Intervenor-Defendant asserts these objections without waiving or intending to
      9   waive any objections as to competency, relevancy, materiality or privilege.
 10               4.      To the extent Intervenor-Defendant responds to these interrogatories, the
 11       responses will not include information protected by the right of privacy. All objections
 12       on the grounds of constitutional and common law privacy rights are expressly preserved.

 13               5.       Intervenor-Defendant objects to each and every Interrogatory to the extent
 14       that Plaintiffs are requesting information that is neither relevant to the subject matter of
 15       this action nor reasonably calculated to lead to the discovery of admissible evidence.
 16               6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
 17       are vague and ambiguous and do not include adequate definition, specificity, or limiting

 18       factors.
 19                  7.      Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 20       the term "PERSON." The definition is vague, ambiguous, and overbroad as used in these
 21       Interrogatories.
 22               Subject to and without waiving the foregoing objections, and incorporating them
 23       by reference into each of the responses provided below, Intervenor-Defendant hereby
 24       responds as follows:
 25       INTERROGATORY NO. 1:
 26                  From January     1, 1995 until the present, have any limit(s) been in place, as the
 27       result of any lawsuit, on the number of people that can be housed in any jail operated
 28
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                     INTERVENOR-DEFENDANT LOS ANGELES COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                      INTERROGATORIES
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      1   and/or maintained by YOU? If so:
      2                  (a)      State the name, date and case number of every case which resulted in
      3   any such limit(s).
      4   RESPONSE TO INTERROGATORY NO. 1:
      5          In addition to the General Objections stated above, Intervenor-Defendant objects
      6   to this interrogatory   on   the grounds that it is vague, ambiguous and overbroad; to the
      7   extent that it seeks information     not relevant to this litigation nor reasonably calculated to
      8   lead to the discovery of admissible evidence.
      9          Without waiving and subject to the objections, Intervenor-Defendant responds as
 10       follows:
 11              Yes. Rutherford V. Block, U.S. District Court Civil Case No. CV-75-04111 DDP.
 12       INTERROGATORY NO. 2:
 13              In any instance, from January 1, 1995 until the present, in which any limit(s) have
 14       been in place on the number of people that can be housed in any jail operated and/or
 15       laaaintained by YOU, what mechanisms were used to comply with those limits?
 16                      (a)      Identify all DOCUMENTS which relate to YOUR answer.
 17                      (b)      Identify all PERSONS whom YOU believe or suspect have
 18       information to support YOUR         answer.

 19       RESPONSE TO INTERROGATORY NO. 2:
 20              In addition to the General Objections stated above, Intervenor-Defendant objects
 21       to this interrogatory   on   the grounds that it is vague, ambiguous and overbroad; to the
 22       extent that it seeks information not relevant to this litigation nor reasonably calculated to
 23       lead to the discovery of admissible evidence.
 24              Without waiving and subject to the objections, Intervenor-Defendant responds as
 25       follows:
 26              (a)     Custody Division Manual sections, daily release criteria and projects
 27                      completed by custody support services.
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                 INTERVENOR-DEFENDANT LOS ANGELES COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
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           1             (b)    Paul Yoshinaga.
       2        INTERROGATORY NO. 3:
       3                From January      1, 1995 until present, how many people have had their releases from
       4        any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
       5        on   the number of people that can be housed in that jail?
       6                        (a)      Identify all DOCUMENTS which relate to YOUR answer.
       7                        (b)      Identify all PERSONS whom YOU believe or suspect have
       8        information to support YOUR         answer.

       9       RESPONSE TO INTERROGATORY NO. 3:
  10                    In addition to the General Objections stated above, Intervenor-Defendant objects
  11           to this interrogatory    on   the grounds that it is vague, ambiguous and overbroad; to the
  12           extent that it seeks    information not relevant to this litigation nor reasonably calculated to
  13           lead to the discovery of admissible evidence.
  14                    Without waiving and subject to the objections, Intervenor-Defendant responds:
  15           Approximately 547,300 inmates.
  16                 (a) Percentage and early release statistics.
  17                 (b) Paul Yoshinaga.
  18           INTERROGATORY NO. 4:
 19                     What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
 20            January 1, 1995 until present, in any county in which YOU operate and/or maintain a
 21            jail?
 22                          (a) For each such program, describe the mission and/or purpose of the
 23            placement program.
 24                          (b) For each such program, identify what criteria are used to decide who
 25            may enter the program.
 26                            (c)     Identify all DOCUMENTS which relate to YOUR answer.
 27                            (d)     Identify all PERSONS whom YOU believe or suspect have
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                       INTERVENOR-DEFENDANT LOS ANGELES COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
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          information to support YOUR        answer.

          RESPONSE TO INTERROGATORY NO. 4:
                 In addition to the General Objections stated above, Intervenor-Defendant objects
          to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
          extent that it seeks information not relevant to this litigation nor reasonably calculated to
      6   lead to the discovery of admissible evidence.
      7          Without waiving and subject to the objections, Intervenor-Defendant responds as
      8   follows:
      9          (a)     Community Based Alternatives to Custody (CBAC) Program. As a result
 10                      of the problems associated with the growing California jail population,
 11                      programs which serve to reduce the number of people in custody, whether
 12                      pre-sentence or post-sentence, received increased attention. In 1986, the
 13                      enactment of Penal Code section 4485.6      required that a county demonstrate
 14                     utilization of alternatives to incarceration to the greatest practical extent
 15                     before it may receive jail construction funds under the County Correctional
 16                     Facility Capital Expenditure Bond Act of 1986. Under these standards, to
 17                     be eligible for jail construction funding, a county must demonstrate that
 18                     either (1) it is not exceeding specified rates of incarceration, or (2) it is
 19                     utilizing jail release programs for post-sentence inmates at a specified rate.
 20                     There are currently three programs being utilized in Los Angeles County:
 21                     Work Release, Weekend Commitment, and the Electronic Monitoring
 22                     Program.
 23              (b)    While eligibility for the Weekend Commitment Program is determined by
 24                     the trial court judge, eligibility for the Work Release and Electronic
 25                     Monitoring programs is determined by the Sheriff's Department and the
 26                     Probation Department.
 27              (c)    Custody Division Manual sections.
 28
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                 INTERVENOR-DEFENDANT LOS ANGELES COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
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                       Paul Yoshinaga.
       2   DATED:   May 27, 2008                       Respectfully submitted,
                                                       JONES & MAYER
       3
       4
       5
                                                       By:
                                                               •o "e•ysS•or Sheriff, Probation, Police
       6                                                       Chief, and Corrections Intervenor-
                                                               Defendants
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                                                INTERROGATORIES
